     Case 1:16-cr-00176-ADA-BAM Document 369 Filed 06/04/20 Page 1 of 2


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 4

 5   Attorney for Defendant,
     GARRY SAMPSON
 6

 7                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,           )              CASE NO. 1:16-cr-00176-DAD-BAM &
10                                       )              CASE NO. 1:12-cr-00028-DAD-BAM
                       Plaintiff,        )
11                                       )              STIPULATION AND ORDER TO
                                         )              CONTINUE STATUS CONFERENCE
12   vs.                                 )              ON SENTENCING HEARING
                                         )
13                                       )
     GARRY SAMPSON,                      )              Date: June 8, 2020
14                                       )              Time: 10:00 AM
                                         )              Judge: Hon. Dale A. Drozd
15                     Defendant.        )
     ____________________________________)
16

17

18          IT IS HEREBY STIPULATED by and between the Defendant GARRY SAMPSON, his

19   attorney of record, CAROL MOSES and Assistant United States Attorney KIMBERLY A.

20   SANCHEZ, that the status conference regarding the sentencing in the above-captioned matter
21   now set for Monday, June 8, 2020 at 10:00 A.M., be continued to Monday December 14, 2020 at

22   10:00 AM for a further status conference on the on the issue of sentencing Mr. Sampson.

23          Mr. Sampson entered a plea of guilty on August 1, 2018 and was subsequently ordered

24   released from custody and transported to The Delancey Street Foundation in San Francisco,

25   California for a determination on Mr. Sampson’s suitability for The Delancey Street Program.

26   Attached is a letter from the program showing that Mr. Sampson remains at the program and is in
27   full compliance.

28          The government has no objection to the proposed continuance. Accordingly, the parties


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     Case 1:16-cr-00176-ADA-BAM Document 369 Filed 06/04/20 Page 2 of 2


 1   are requesting a continuance of the status conference to December 14, 2020, to monitor Mr.

 2   Sampson’s progress at the program, and to set another status conference for sentencing

 3   consideration.

 4          Mr. Sampson previously pleaded guilty, thus no exclusion of time is necessary.

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 6                                                      Respectfully Submitted,

 7

 8   Dated: June 3, 2020                                /s/ Carol Ann Moses
                                                        CAROL ANN MOSES
 9                                                      Attorney for Defendant,
                                                        GARRY SAMPSON
10

11
     Dated: June 3, 2020                                /s/ Kimberly A. Sanchez
12                                                      KIMBERLY A. SANCHEZ
                                                        Assistant United States Attorney
13
                                                        Attorney for the United States
14

15                                                 ORDER

16          GOOD CAUSE APPEARING, the above stipulation is accepted and adopted as the order

17   of this Court in Case No. 1:16-cr-00176-DAD-BAM and in Case No. 1:12-cr-00028-DAD-BAM.
     The status conference as to Defendant GARRY SAMPSON currently scheduled for June 8, 2020
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     at 10:00 AM is hereby continued to December 14, 2020 at 10:00 AM in Courtroom 5 before
19
     United States District Judge Dale A. Drozd.
20
21   IT IS SO ORDERED.
22
        Dated:    June 4, 2020
23                                                    UNITED STATES DISTRICT JUDGE

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